          Case 2:11-cr-00419-MMD-PAL         Document 38    Filed 10/23/12
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 5                                     DISTRIC T O F N EVA D A

 6 LINITED STATES 0F AM ERICA,                     )
                                                   )
 7                       Plaintiff,                )
                                                   )
 8          v,             .                       )          2:1I-CR-4I9-M M D-IPAL)
                                                   )
 9 TREVOR SEAN M ESNIK,                            )
                                                   )
10                       Defendant.                )
11                                    O R DER O F FO R FEIT UR E
12         On October24,2012,defendantTREVOR SEAN M ESNIK pled gtliltyto CountOneofa

13 Three-cotmtcriminalIndictm entcharginghim withConspiracytoCom mitW ireFraudinviolation
14 of Title l8, United States Code, Sections 1343 and 1349. lndictment, ECF No. 1; Plea

15 Memorandtlm,ECFNo.qf
16         This Courttinds that TREVOR SEAN M ESNIK shallpay a crim inal forfeiture money

17 judgmentof$86,000.00inUnitedStatesCurrencytotheUnitedStatesofAmerica,pursuanttoFed.                  j
18 R Crim.P.32.2(b)(1)and(2);Title 18,United StatesCode,Section 981(a)(l)(C)and Title28,
      .
                                                                                                        !
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                                                                                                        (
19 UnitedStatesCode,Section2461(c);Titlel8,UnitedStatesCode,Section982(a)(2)(A);andTitle
20 21,UnitedStatesCode,Section853û9.                                                                    l
21         TH EREFO RE, IT IS HEREBY O RDERED ,A DJU D GED ,AN D D ECREED thattheU nited                !
                                                                                                        2

22 Statesrecoverfrom TREVOR SEAN MESNIK acriminalforfeituremoneyjudgmentintheamount                     !

23 of$86,000.00 in United StatesCurrency.
24         DATEDthisr%Y         yof Vcx t
                                        '                ,2012.
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26                                            UN    D STA TES D ISTRICT JU D GE
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